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                                                               Honorable Robert S. Lasnik




                   UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF WASHINGTON
                               AT SEATTLE


UNITED STATES OF AMERICA,                        NO. CR19-159-RSL

                  Plaintiff                      STIPULATED MOTION FOR
                                                 AMENDED PROTECTIVE ORDER
                     v.

PAIGE A. THOMPSON,                               Noting Date: July 21, 2020

                 Defendant.


       Defendant Paige Thompson files this Stipulated Motion for Amended Protective
Order, and presents the attached proposed order. The proposed order was negotiated and
agreed on by counsel for Ms. Thompson and non-party Capital One, and is meant to
supersede and replace the existing protective order between them entered on December 6,
2019 (Dkt. No. 77). The government has no objection and stipulates to the entry of the
proposed amended protective order.
       As set forth in the attached proposed amended protective order, which is
incorporated by reference, this case involves electronic material and other potentially
sensitive and confidential material. Accordingly, Ms. Thompson respectively requests
that the Court enter the proposed order governing the production of materials by Capital
One to Ms. Thompson.
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     DATED this 21st day of July 2019.

                                             Respectfully submitted,

                                             s/ Mohammad Ali Hamoudi
                                             s/ Christopher Sanders
                                             s/ Nancy Tenney
                                             Assistant Federal Public Defenders

                                             s/ Brian Klein
                                             Baker Marquart LLP

                                             Attorneys for Paige Thompson




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